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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

           - v .-                                                  SEALED INDICTMENT

NEIL PHILLIPS ,                                                    22 Cr .
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                    Defendant.                   ,...,._ ("~
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                               COUNT ONE
                (Conspiracy to Commit Commodities Fraud)

      The Grand Jury charges :

                          Overview of the Scheme

      1.    In or about December 2017 , NEIL PHILLIPS , the

defendant , and others engaged in a scheme to artificially

manipulate the United States dollar ( " USD " )/South African rand

( "ZAR") exchange rate .       PHILLIPS manipulated and sought to

manipulate the USO/ZAR exchange rate in order to fraudulently

trigger a payment under a barrier options contract into which

his hedge fund had entered .         Under this barrier options

contract , PHILLIPS '    hedge fund and a client of PHILLIPS ' hedge

fund were , collectively , entitled to a $20 million payment if

the USO/ZAR exchange rate fell below a particular level at any

time on or before a particular date .

      2.    On December 26 , 2017       (" Boxing Day 2017 " ) , NEIL

PHILLIPS , the defendant , engaged in foreign currency exchange

spot transactions in which PHILLIPS ' hedge fund exchanged
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hundreds of millions of USO in return for ZAR . PHILLIPS engaged

in these USO/ZAR spot transactions for the purpose of

intentionally and artificially driving the USO/ZAR exchange rate

below the threshold level set by the barrier options contract in

order to trigger the $20 million payment and defraud the

counterparties to the options contract .

                   Relevant Individuals and Entities

     3.    At all times relevant to this Indictment , NEIL

PHILLIPS , the defendant , was the co - founder and co-Chief

Investment Officer of a hedge fund based in the United Kingdom

("Hedge Fund-1 " ) .

     4.    Hedge Fund- 1 was a global "macro " hedge fund that

focused on macroeconomic trends and emerging markets , and on the

foreign exchange markets and currency and commodity products .

NEIL PHILLIPS , the defendant , co-founded Hedge Fund- 1 in or

about 2015 .   At all times relevant to this Indictment , Hedge

Fund- 1 was registered as a commodity pool operator with the

Commodity Futures Trading Commission (the " CFTC " ) and PHILLIPS

was registered with the CFTC as associated with Hedge Fund- 1 .

                  Relevant Background and Terminology

     5.    The foreign currency exchange (" FX " ) market is a

global market in which participants trade currencies in pairs .

In a currency pair , each currency is valued relative to the
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other. The ratio that expresses the value of one currency in

relation to the other is commonly referred to as the " exchange

rate " or the " rate ."

     6.    The USO/ZAR is one such currency pair .           An exchange

rate of 12 . 50 USO/ZAR would thus reflect that a party could sell

one USO in return for 12 . 50 ZAR .

     7.    There i s no s i ngle , official marketp l ace for FX

transactions .   Customers trade directly with FX dealer banks .

Several of these banks are global banks that are able to

exchange many of the world ' s currencies , in large amounts , upon

a customer ' s request .

     8.    FX " spot " trades involve one party agreeing to receive

a particular currency in exchange for delivering a different

currency , at an agreed - upon price and quantity .          The actual

exchange of the currencies (i . e. the trade " settlement " ) in

connect i on with these FX spot transactions typically take place

two business days after the parties agree on the terms of the

transaction .

     9.    A substantial portion of FX spot transactions

involving the USO , including the USO/ZAR currency pair , are

settled through a third-party settlement bank that is

headquartered in Manhattan , New York (the " Settlement Bank") .

The Settlement Bank ma in tains a matching and settlement system

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for member institutions engaged in FX transactions.              At all

times relevant to this Indictment , the Settlement Bank settled

FX transactions in approximately 18 currencies , including the

USO and the ZAR .      The Settlement Bank conducted multilateral

netting of all o f its member institutions ' transactions in all

18 currencies on a daily basis .       With respect to the USO , the

multilateral netting process occurred mu l tiple times per day .

Following this multilateral netting process , the Settlement Bank

calculated whether its member institutions either owed USO or

were entitled to receive USO. The USO portion of all FX

transactions settled by the Settlement Bank flowed in and out of

bank accounts held at the Federal Reserve Bank of New York .

                      The $20 Million One Touch Option

      10.    On or about October 30 , 2 017 , Hedge Fund- 1 purchased a

" o ne touch " digital barrier option for the USO/ZAR currency pair

with a notional value of $20 million , a barrier rate of 12 . 50 ,

and an expiration date of January 2 , 2018         (the " $20 Million One

To uch Option " ) .   Under the terms of the $20 Million One Touch

Option , in the event that the USO/ZAR exchange rate went below

12 . 50 at any point prior to on or about January 2 , 2018 , Hedge

Fund- 1 would be entitled to a $20 million payment .

      11 .   Hedge Fund- 1 purchased the $20 Million One Touch

Option through a financial services firm ("Intermediary Firm- 1" )

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that facilitates trades 9n behalf of underlying c lients .

Intermediary Firm- 1 permits its underlying clients to maintain

anonymity in such transactions .         The party that was ultimately

obligated to pay $20 million in the event the $20 Million One

To uch Option was triggered was a subsidiary of a bank

headquartered in Manhattan , New York (" Bank-1 " ) .         Hedge Fund- 1

and Bank- 1 were not aware of the identity of their respective

counterpa rties to the $20 Million One Touch Option contract .

     12.   Hedge Fund-1 subsequently allocated the notional value

of the $20 Million One Touch Option such that Hedge Fund- 1 would

receive $15 , 660 , 000 and a fund that was a client of Hedge Fund- 1

(" Client Fund-1") would receive the remaining $4 , 340 , 000 in the

event that the $20 Million One Touch Option was triggered .

     13.   A bank that is headquartered in Manhattan , New York

("Bank- 2 " ) , acted as Hedge Fund- l ' s prime broker in connection

with the $20 Million One Touch Option .         After Hedge Fund- 1

entered into the $20 Million One Touch Option , Bank- 2 provided

Hedge Fund- 1 with a letter agreement that set forth the terms

and conditions of the transaction .         This letter agreement

stated , among other things , that Hedge Fund- 1 would be "acting

in good faith and in a commercially reasonable manner " as the

" Calculat i on Agent " in connection with the $20 Million One Touch

Option and that Hedge Fund- l ' s " determinations and ca l culations "

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would be "binding in the absence of manifest error ."            The letter

agreement incorporated by reference the "2005 Barrier Option

Supplement" published by the International Swaps and Derivatives

Association , Inc.    The 2005 Barrier Option Supplement stated ,

among other things , that the " Barrier Determination Agent" is

" the party who determines whether or not a Barrier Event has

occurred and provides notice if it determines that a Barrier

Event has occurred " and that the "Barrier Determination Agent

shall be the Calculation Agent" unless otherwise specified.                 The

2005 Barrier Option Supplement further stated that the

"occurrence of a Barrier Event shall be determined in good faith

and in a commercially reasonable manner by the Barrier

Determination Agent ."

              The Events Leading Up To Boxing Day 2017

     14 .   On or about October 30 , 2017 , the date that Hedge

Fund-1 purchased the $20 Million One Touch Option , the USD/ZAR

exchange rate was over 14 . 00.     Between early November 2017

through on or about December 15 , 2017 , the USD/ZAR exchange rate

fluctuated between approximately 14 . 50 and approximately 13 . 15 .

     15 .   December 16 and December 17 , 2017, fell on a weekend .

On or about Monday , December 18 , 2017 , following the

announcement that a particular candidate (" Candidate-1 " ) had

been elected as president of the African National Congress

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political party in South Africa , the USO/ZAR exchange rate

lowered substantially , dropping to as low as approximately

12 . 52 .      But the USO/ZAR exchange rate did not fall lower than

12 . 50 on or about December 18 , 2017 , and thus Hedge Fund- l ' s $20

Million One Touch Option was not triggered .

        16 .     Between on or about December 19 , 2017 , and on or about

December 24 , 2017 , the USO/ZAR exchange rate did not fall below

12 . 50 , and , accordingly , Hedge Fund- l ' s $20 Million One Touch

Option was not triggered .

                PHILLIPS Intentionally Manipulates the USO/ZAR Rate
                                 on Boxing Day 2017

        17 .    With the $20 Mi ll ion One Touch Option set to expire in

a matter of days , on Boxing Day 2017 , NEIL PHILLIPS , the

defendant , engaged in a scheme to intentionally and artificially

manipulate the USO/ZAR exchange rate to drive the rate below

12 . 50 and trigger payment under the $20 Million One Touch

Option .        PHILLIPS caused and sought to cause the USO/ZAR

exchange rate to fall below 12 . 50 by engaging in FX spot trades

in which he caused hundreds of millions of USO to be exchanged

for ZAR .        PHILLIPS engaged in this USO/ZAR FX spot trading for

the express purpose of artificially driving the USO/ZAR rate

below 12 . 50 .      In particular , by selling a large volume of USO in

return for ZAR in a short period of time , PHILLIPS created an


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artificial demand for the ZAR , which had the impact of

strengthening the ZAR against the USO (i . e . as demand for ZAR

increased the ZAR became more expensive) . This strengthening of

the ZAR against the USO meant that the exchange rate lowered

(i . e . a seller of USO would receive less ZAR in return because

the ZAR had now become more expensive).

     18 .   Between shortly before midnight London time on

December 25 , 2017     (Christmas day) and approximately 12 : 45 a . m.

London time on December 26 , 2017         (Boxing Day) , NEIL PHILLIPS ,

the defendant , directed a Singapore - based employee (" CC - 1 " ) of a

bank ("Bank - 3 " ) to sell , on behalf of Hedge Fund- 1 , a total of

approximately $725 million USO in exchange for ZAR . 1             PHILLIPS

explicitly stated to CC - 1 that his goal in conducting these

USO/ZAR FX spot trades was to drive down the USO/ZAR exchange

rate below 12 . 50 .   During the course of that approximately one -

hour period , PHILLIPS , through his trading , caused the USO/ZAR

rate to fa l l substantially in this short period of time until

the rate went just below 12 . 50 .     As soon as PHILLIPS had

achieved his objective and the USO/ZAR exchange rate fell below




1
 Bank- 3 was acting as a dealer bank in connection with these FX
spot transactions and was acting at the direction of PHILLIPS
and Hedge Fund- 1 , who were the customer . PHILLIPS provided
Bank-3 with orders and then Bank- 3 sought out counterparties in
the market in order to exchange USO for ZAR.
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12.50 due to PHILLIPS ' manipulative spot trading activity ,

PHILLIPS immediately directed that CC - 1 cease trading .

     19.      NEIL PHILLIPS , the defendant , instructed CC - 1 to

conduct this USD/ZAR FX spot trading through Bloomberg chat

messages .     At the time PHILLIPS sent these chat messages ,

PHILLIPS was located i n South Africa and CC - 1 was located in

Singapore .        Other employees of Hedge Fund- 1 and Bank- 3 were also

participants in the Bloomberg chat room in which PHILLIPS

instructed CC - 1 to conduct the USO/ZAR FX spot trading .               These

other participants in the Bloomberg chat room included , among

others , a Hedge Fund- 1 employee based i n London (" CC - 2 " ) , a

Hedge Fund- 1 emp l oyee that worked i n Manhattan , New York , and

emp l oyees of Bank- 3 based in Manhattan .

     20 .     In the Bloomberg chat messages between NEI L PHILLIPS ,

the defendant , and CC - 1 , PHILLIPS expl i citly directed CC - 1 to

continue selling until the USO/ZAR rate fell below 12.50 and

expressly stated that PHILLIPS ' purpose in d i recting these

USD/ZAR spot trades was to drive the USD/ZAR rate below 12 . 50 .

For example :

              a.      At approximately 12 : 09 a . m. London time on

December 26 , 2017 , PHILLIPS stated , in substance and in part ,

" my aim is to trade thru 50 ."        CC - 1 responded , " Ok sure. "



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           b.    At approximately 12 : 16 a . m. London time on

December 26 , 2017 , PHILLIPS stated , in substance and in part ,

" Need to get it thru 50 ."

           c.    At approximately 12 : 19 a . m. London time on

December 26 , 2017 , PHILLIPS asked CC - 1 , in substance and in

part , " How much liquidity do u think between now and 50 ."            CC - 1

responded , in substance and in part , " we are the only sellers in

the market , we ' ve sold about 100 [million USO] and it ' s moved

about 5 big figures .            but I imagine there is much more

depth on the bid the closer we get to 12 . 50 ." 2

           d.    At approximately 12 : 25 a . m. London time on

December 26 , 2017 , PHILLIPS again stated , in substance and in

part , "Need it to trade thru 50 . 4990 is fine ."

           e.    At approximately 12 : 27 a . m. London time on

December 26 , 2017 , PHILLIPS , after instructing CC - 1 to sell

another 100 million USO for ZAR , stated , in substance and in

part , " Get it thru ."

            f.   At approximately 12 : 31 a . m. London time on

December 26 , 2017 , CC - 1 informed PHILLIPS , in substance and in

part , that Bank- 3 had sold 415 million USO in exchange for ZAR




2 A " figure " is the second decimal poi n t , i . e . . 01 . According l y ,
if , for example , a foreign exchange rate moved from 12 . 56 to
12 . 51 , it would have moved by . 05 , or " 5 big figures ."
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at PHILLIPS ' direction thus far and that the lowest exchange

rate the USO/ZAR had hit for the day was 12 . 5050 .             PHILLIPS

responded by asking , in substance and in part , "[ h]ow much more

u think to break 50 ."        CC - 1 responded , in substance and in part ,

"if it's 100 bux [100 million USO] every 25 pips then at least

another 200. " 3

              g.    At approximately 12 : 42 a . m. London time on

December 26 , 2017 , PHILLIPS instructed CC - 1 , in substance and in

part , to sell an additional 100 million USO in exchange for ZAR

and stated , in substance and in part , "try to get it thru now ,"

referring to driving the USO/ZAR exchange rate below 12.50 .                    CC -

1 stated in response , in substance and in part , " i will let you

know as soon as we sell any below the figure ."

              h.    At approximately 12:44 a.m . London time on

December 26 , 2017 , CC-1 told PHILLIPS , in substance and in part,

"we just sold at 4990 ." Approximately one minute later CC - 1

stated , in substance and in part , "We are finishing now , will be

725 mio [million USO] all day."          PHILLIPS responded , in

substance and in part at approximately 12 : 45 a . m. London time ,

"Pls.     [please] get me prof [proof] of the print . And stip [sic]




3   A "pip" is the last (fourth) decimal point , i . e . 0 . 0001 .
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stop , " referring to the fact that CC - 1 should cease trading

immediately .

              i.     At approximately 12:47 a . m. London time on

December 26 , 2017 , PHILLIPS asked CC-1 , " where is it now. "              CC - 1

responded , in substance and in part t hat a particular pricing

service was "showing 12 . 4975 as the low" and asked " [t]hat ' s

sufficient yeah? "          PHILLIPS responded , in substance and in part ,

"Perfect ."

              j .    PHILLIPS thereafter instructed CC - 1 to confirm

the details of the trade with PHILLIPS ' Hedge Fund-1 employee ,

CC - 2 . CC - 2 and CC - 1 thereafter briefly corresponded in the

Bloomberg chat room regarding the details surrounding the

USO/ZAR trade.

      21 .    Following completion of the above - described spot

trade , CC - 1 sent NEIL PHILLIPS , the defendant , and others a

trade summary reflecting that Hedge Fund-1 had sold in total

approximately 725 million USO in exchange for approximately

9 , 070 , 902 , 750 ZAR .

       22 .   On or about December 26 , 2017 , in the hours that

followed the completion of the above-described USO/ZAR FX spot

trading directed by NEIL PHILLIPS , the defendant , the USO/ZAR

exchange rate once again increased and returned to levels above



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the 12 . 50 barrier rate and did not go below the rate of 12 . 50

for the remainder of the day .

PHILLIPS Causes the Fraudulent Triggering of the $20 Million One
                          Touch Option

     23 .    Only five minutes after NEIL PHILLIPS , the defendant ,

caused the USD/ZAR FX spot rate to fall below 12 . 50 , at

approximately 12 : 52 a . m. London time on December 26 , 2017 ,

PHILLIPS instructed CC - 2 in a Bloomberg chat message , in

substance and in part , to notify Intermediary Firm- 1 that the

$20 Million One Touch Option had been triggered .           Consistent

with PHILLIPS ' directive , CC - 2 thereafter contacted an employee

of Intermediary Firm- 1 to confirm that the $20 Million One Touch

Option had been triggered .      CC - 2 ' s email to the employee of

Intermediary Firm- 1 omitted the fact that the triggering event -

the USD/ZAR exchange rate falling be l ow 1 2 . 50 - had occurred as

a result of the manipulation of the USD/ZAR exchange rate by

PHILLIPS .    The employee of Intermediary Firm- 1 thereafter

confirmed to CC - 2 that the $20 Million One Touch Option had been

triggered.

     24 .    Bank- 2 , which was serving as Hedge Fund- l ' s prime

broker in connection with the $20 Mi llion One Touch Option and

wi th whom Hedge Fund - 1 had executed the re l evant letter

agreement governing the transaction , required confirmation from


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both the executing broker and from Hedge Fund - 1 that the $20

Million One Touch Option had , in fact , been triggered.            In this

regard , on or about December 27 , 2017 , an employee of Hedge

Fund - 1 notified Bank - 2 , in substance and in part , that " [t]he

below option level of 12.50 was hit yesterday" and sought to

process payment in connection with the trigger in g of the $20

Million One Touch Option .     This representation by Hedge Fund- 1

to Bank-2 that the $20 Million One Touch Option had been

triggered omitted the fact that the triggering event - the

USO/ZAR exchange rate falling below 12 . 50 - had occurred as a

result of the manipulation of the USO/ZAR exchange rate by NEIL

PHILLIPS , the defendant.

     25 .   The manipulation of the USO/ZAR rate on or about

December 26 , 2017 , caused by NEIL PHILLIPS , the defendant ,

accordingly , resulted in the $20 Million One Touch Option be i ng

triggered , thereby defrauding the parties to the $20 Million One

Touch Option and causing Hedge Fund-1 and Client Fund - 1 to

receive a payment pursuant to the terms of the $20 Million One

Touch Option .   In particular , on or about December 27 , 2017 ,

Bank- 1 , in connection with the $20 Million One Touch Option ,

sent a wire transfer of $20 million to a bank account controlled

by a financial institution that was acting as Intermediary Firm-

l ' s broker in connection with the transaction , which wire passed

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through Manhattan , New York , as a result of the triggering of

the $20 Million One Touch Option .         On or about December 28 ,

2017 , Bank- 2 , which was acting as Hedge Fund- l ' s pr i me broker ,

sent a wire transfer of $15 , 660 , 000 to a bank account held by

Hedge Fund- 1 , which wire passed through Manhattan , New York .             On

or about December 28 , 2017 , Bank- 2 also sent a wire transfer of

$4 , 340 , 000 to a bank account held by Client Fund-1 , which wire

passed through Manhattan , New York .

     The Settlement of the Boxing Day USO/ZAR FX Spot Trades

     26 .    The USO/ZAR spot trades directed by NEIL PHILLIPS , the

defendant , through Bank- 3 on December 26 , 2017 , Box i ng Day 2017 ,

were settled through the Settlement Bank on or about December

28 , 2017.    In particular , on or about December 26 , 2017 , Bank- 3

and Bank- 2 , which was acting as Hedge Fund- l ' s prime broker in

connection with the trade , communicated settlement instructions

relating to this USO/ZAR spot trade to the Settlement Bank ,

which were received by the Settlement Bank in , among other

locations , the United States.      On or about December 28 , 2017 ,

after the Settlement Bank netted out all FX transactions

conducted by Bank- 3 and Bank-2 across all 18 currencies settled

by the Settlement Bank , Bank- 3 transferred funds in USO into

bank accounts held at the Federal Reserve Bank of New York , and



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the Settlement Bank transferred funds from bank accounts held at

the Federal Reserve Bank of New York in USO to Bank-2 .

            PHILLIPS ' s Statements to Hedge Fund - 1 Investors

     27 .     In or about January 20 18, Hedge Fund- 1 sent a

communication to Hedge Fund- 1 investors , which was signed by

NEIL PHILLIPS , the defendant , and his co - founder .        This

communication to investors stated , in substance and in part , the

following :

              The stand- out performance within EM [emerging
              markets]    during   December  was ,  however ,
              unrelated to broader market       trends  and ,
              instead ,  reflected idiosyncratic political
              news in South Africa .

              *    *     *
              We had anticipated the potential for large
              swings in South African assets around the ANC
              [the African National Congress]         electoral
              conference and , in particular , believed that
              the market had priced in too little risk of a
              [Candidate - 1] victory . This judgment proved to
              be correct with the market subsequently coming
              to terms with the scope for a more positive
              policy dynamic than seen in South Africa for
              a l ong time .

     28 .     Hedge Fund-l ' s communication to investors in or about

January 2018 further reflected a positive 6 percent return for

the month of December 2017 .

     29 .     Hedge Fund- l ' s January 2018 communication to

investors , while touting Hedge Fund- l ' s predictions with respect


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to South African political events and touting its returns for

the month of December 2017 , did not disclose to investors that

NEIL PHILLIPS , the defendant , had intentionally and artificially

manipulated the USO/ZAR exchange rate , nor did it disclose that

PHILLIPS '   rate manipulation had caused Hedge Fund- 1 to receive a

payment under the $20 Mi llion One Touch Option .

                          Statutory Allegations

      30.    In or about December 2017 , in the Southern District of

New York and elsewhere , NEIL PHILLIPS , the defendant , and others

known and unknown , willfully and knowingly combined , conspired ,

confederated , and agreed together and with each other to commit

an offense against the United States , to wit , commodities fraud ,

in violation of Title 7 , United States Code , Sections 9(1) and

13(a) (5) , and Title 17 , Code of Federal Regulations , Section

180.1 .

      31 .   It was a part and an object of the conspiracy that

NEIL PHILLIPS , the defendant , willfully and knowingly , would and

did , directly and indirectly , use and employ , in connection with

a swap , a contract of sale of a commodity in interstate and

foreign commerce , or for future delivery on or subject to the

rules of any registered entity , a manipulative and deceptive

device and contrivance , in contravention of Title 17 , Code of

Federal Regulations , Section 180 . 1 , by :    (1) using and employing ,

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and attempting to use and employ , any manipulative device ,

scheme , and artifices to defraud;        (2) making , and attempting to

make , any untrue or misleading statement of a material fact and

omitting to state a material fact necessary in order to make the

statements made not untrue or misleading ; and (3) engaging , or

attempting to engage in any act , practice , and course of

business which operates and would operate as a fraud and deceit

upon any person , in violation of Title 7 , United States Code ,

Sections 9 (1) and 13 (a) (5).

                                 Overt Acts

     32 .     In furtherance of the conspiracy and to effect the

illegal object thereof , the following overt acts , among others ,

were committed in the Southern District of New York and

elsewhere :

              a.   On or about December 25 , 2017, and December 26 ,

2017 , NEIL PHILLIPS , the defendant , while located outside of the

United States , sent Bloomberg chat messages to CC - 1 , CC - 2 , and

others, which messages passed through the Southern District of

New York and were received and accessed by individuals located

in the Southern District of New York , directing USO/ZAR FX spot

trades in furtherance of a conspiracy to defraud involving the

manipulation of the USO/ZAR exchange rate .



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            b.    On or about December 25 , 2017 , and December 26 ,

2017 , CC - 1 , acting at the direction of PHILLIPS , caused FX spot

trades that resulted in 725 million USO being sold in exchange

for ZAR .

            c.    On or about December 26 , 2017,          PHILLIPS sent

Bloomberg chat messages to CC - 2 , which messages passed through

the Southern District of New York , instructing CC - 2 , in

substance and in part , to inform Intermediary Firm- 1 that the

$20 Million One Touch Option had been triggered .

            d.    On or abo u t    December 26 , 2017 , as directed by

PHILLIPS , CC - 2 sent an email to an employee of Intermediary

Firm- 1 in which CC - 2 informed the employee of Intermediary Firm-

1 that the $20 Million One Touch Option had been triggered ,

while not disclosing that the triggering event - the USO/ZAR

exchange rate falling below 12 . 50 - had occurred as a result of

the manipulation of the USO/ZAR exchange rate by PHILLIPS .

            e.    In connection with the triggering of the $20

Million One Touch Option , PH!LLIPS and others caused Bank- 1 , on

or about December 27 , 2017 , to send a wire transfer of $20

million , which wire passed through Manhattan , New York .

            f .   In connection with the triggering of the $20

Million One Touch Option , PHILLIPS and others caused Bank-2 , on

or about December 28 , 2017 , to send a wire transfer of

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$15 , 660 , 000 to a bank account held by Hedge Fund- 1 , which wire

passed through Manhattan , New York .

           g.     In connection with the triggering of the $20

Million One Touch Option , PHILLIPS and others caused Bank- 2 , on

or about December 28 , 2017 , to send a wire transfer of

$4 , 340 , 000 to a bank account held by Client Fund- 1 , which wire

passed through Manhattan , New York .

           h.     In connection with the USO/ZAR spot trading that

occurred at PHILLIPS ' direction on or about December 25 and 26 ,

2017 , PHILLIPS and others caused Bank - 2 and Bank- 3 , on or about

December 26 , 2017 , to transmit settlement instructions to the

Settlement Bank relating to settlement of these USD/ZAR spot

trades .

            i.    In connection with the USO/ZAR spot trading that

occurred at PHILLIPS ' direction on or about December 25 and 26 ,

2017 , PHILLIPS and others caused the Settlement Bank , on or

about December 28 , 2017 , to settle these USO/ZAR spot trades ,

and the USO portion of these FX transactions flowed in and out

of bank accounts held at the Federal Reserve Bank of New York .

             (Title 18 , United States Code , Section 371 . )




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                                  COUNT TWO
                              (Commodities Fraud)

     The Grand Jury furt h er charges :

     33 .   The allegations contained in paragraphs 1 through 29 ,

and 32 are hereby repeated , realleged , and incorporated by

reference as if fully set forth herein .

     34 .   In or about December 2017 , in the Southern District of

New York and elsewhere , NEIL PHILLIPS , the defendant , willfully

and knowingly , directly and indirectly , used and employed , and

attempted to use and employ , in connection with a swap , a

contract of sale of a commodity in interstate and foreign

commerce , or for future delivery on or s u bject to the rules of

any registered entity , a manipulative and deceptive device and

contrivance , in contrave n tion of Title 17 , Code of Federa l

Regulations , Section 180.1 , by :     (1) using and employing , and

attempting to use and employ , any manipulative device , scheme ,

and artifices to defraud ;       (2) making , and attempting to make ,

any untrue or misleading statement of a material fact and

omitting to state a material fact necessary in order to make the

statements made not untrue or misleading ; and (3) engaging , or

attempt i ng to engage in any act , practice , and co u rse of

business which operates and would operate as a fraud and deceit

upon any person , to wit , PHILLIPS and ot h ers , in connection with


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the $20 Million One Touch Option , engaged in a scheme involving

the intentional and artificial manipulation of the USD/ZAR

exchange rate and other manipulative and deceptive devices and

contrivances .

 (Title 7 , United States Code , Sections 9(1) and 13(a) (5) ; Title
17 , Code of Federal Regulations , Section 180 . 1 ; Title 18 , United
                     States Code , Section 2.)

                              COUNT THREE
                   (Conspiracy to Commit Wire Fraud)

     The Grand Jury further charges :

     35 .   The allegations contained in paragraphs 1 through 29 ,

and 32 are hereby repeated , realleged , and incorporated by

reference as if fully set forth herein .

     36 .   In or about December 2017 , in the Southern District of

New York and elsewhere , NEIL PHILLIPS , the defendant , and others

known and unknown , willfully and knowingly combined , conspired ,

confederated , and agreed together and with each other to commit

wire fraud , in violation of Title 18 , United States Code ,

Section 1343 .

     37.    It was a part and object of the conspiracy that NEIL

PHILLIPS, the defendant , and others known and unknown , willfully

and knowingly , having devised and intending to devise a scheme

and artifice to defraud , and for obtaining money and property by

means of false and fraudu l ent pretenses , representations , and


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promises , would and did transmit and cause to be transmitted by

means of wire and radio communication in interstate and fore i gn

commerce , writings , signs , signals , pictures , and sounds for the

purpose of executing such scheme and artifice , in violation of

Title 18 , United States Code , Section 1343 , to wit , PHILLIPS and

others , through interstate and foreign messages , telephone

calls , and financial transfers , among other means , conspired to

fraudulently cause a payment under the $20 Million One Touch

Option .

             (Title 18 , United States Code , Section 1349 . )

                                COUNT FOUR
                               (Wire Fraud)

      The Grand Jury further charges :

      38 .   The allegations contained in paragraphs 1 through 29

and 32 are hereby repeated , re-alleged , and incorporated by

reference as if fully set forth herein .

      39 .   In or about December 2017 , in the Southern District of

New York and elsewhere , NEIL PHILLIPS , the defendant , willfully

and knowingly , having devised and intending to devise a scheme

and artifice to defraud , and for obtaining money and property by

means of false and fraudulent pretenses , representations and

promises , transmitted and caused to be transmitted by means of

wire and radio communication in interstate and foreign commerce ,


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writings , signs , signals , pictures , and sounds for the purpose

of executing such scheme and artifice , to wit , PHILLIPS and

others , through interstate and foreign messages , telephone

calls , and financial transfers , among other means , including

wires passing through the Southern District of New York , engaged

in a scheme to fraudulently cause a payment under the $20

Million One Touch Option .

       (Title 18 , United States Code , Sections 1343 and 2.)

                          FORFEITURE ALLEGATION

     40 .   As a result of committing one or more of the offenses

alleged in Counts Three and Four of this Indictment , NEIL

PHILLIPS , the defendant , shall forfeit to the United States ,

pursuant to Title 18 , United States Code , Section 981 (a) (1) (C) ,

and Title 28 , United States Code , Section 2461 , any and all

property , real and personal , that constitutes or is derived from

proceeds traceable to the commission of said offenses , including

but not limited to , a sum of money in United States currency

representing the amount of proceeds traceable to the commi ssion

of said offenses.

                       Substitute Asset Provision

     41 .   If any of the above-described forfeitable property , as

a result of any act or omission of NEIL PHILLIPS , the defendant :



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                                     ►'




             (a) cannot be located upon the exercise of due

diligence;

             (b) has been transferred or sold to, or deposited

with, a third person;

             (c) has been placed beyond the jurisdiction of the

Court;

             (d) has been substantially diminished in value; or

             (e) has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p) and Title 28, United States

Code, Section 2461(c) to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

         (Title 18, United States Code, Sections 981 and 982;
              Title 21, United States Code, Section 853;
             Title 28, United States Code, Section 2461.)



                                           l)~w~
                                           DAMIAN WILLIAMS
                                           United States Attorney




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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                                 v.

                          NEIL PHILLIPS,

                                            Defendant.




                         SEALED INDICTMENT

                            22 Cr .

              ( 7 U. S . C . §§ 9 ( 1) and 13 (a) ( 5) ; 1 7
         C . F . R . § 180 . 1 ; 18 U.S.C . §§ 371 , 1343 ,
                             13 4 9 , and 2 ; )




                                      DAMIAN WILLIAMS
                              United States Attorney .

                           A TRUE BILL


                     ~            £-           Foreperson .
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